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 5
     Attorney for Defendant KEVIN SPENCER
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                             EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )              CASE NO. 1:12-CR-00038-07 AWI
                                   )
12             Plaintiff,          )             STIPULATION TO CONTINUE
                                   )             SENTENCING HEARING, AND
13   vs.                           )             ORDER THEREON
                                   )
14   KEVIN SPENCER                 )
                                   )             DATE:          January 14, 2013
15                                 )             TIME:          10:00 a.m.
               Defendant.          )             JUDGE:         Anthony W. Ishii
16   ______________________________)
17
18                                       STIPULATION
19
20           It is hereby stipulated by and between the parties hereto
21   that the sentencing hearing in the above entitled matter now set
22   for January 14, 2013, may be continued to April 29, 2013 at 10:00
23   a.m.
24           The parties agree that time shall be excluded pursuant to 18
25   U.S.C. §§ 3161, subd.(h)(8)(A) and (B) in that the ends of justice
26   served by the continuance outweigh the best interest of the public
27   and the defendant in a speed trial, since the failure to grant
28   such a continuance would deny counsel for the defendant the


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 1   reasonable time necessary for effective preparation, taking into
 2   account the exercise of due diligence.
 3
 4
             GOOD CAUSE EXISTS to allow for completion of trial of co-
 5
     defendants.
 6
 7   DATED: January 3, 2013             FLETCHER & FOGDERUDE, Inc.
 8
                                        /s/ Eric K. Fogderude
 9                                      ERIC K. FOGDERUDE
                                        Attorney for Defendant,
10                                      KEVIN SPENCER
11
12   Dated: January 3, 2013             Benjamin B. Wagner
                                        United States Attorney
13
                                             Karen Escobar
14                                       /s/
                                        KAREN ESCOBAR
15                                      Assistant US Attorney
16
                                         ORDER
17
18           IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C.
19   § 3161, subd.(h)(8)(A) and (B).       For the above stated reasons, the
20   court finds that the ends of justice served by the dely outweigh
21   the best interest of the public and the defendants in a speedy
22   trial. Therefore, the court grants the stipulation that the
23   Sentencing hearing be continued to April 29, 2013 at 10:00 a.m.
24
25   IT IS SO ORDERED.
26
     Dated:     January 4, 2013
27   0m8i78                              UNITED STATES DISTRICT JUDGE
28


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